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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


                              NOTICE OF HEARING SESSION


Pursuant to the order of the United States Judicial Panel on Multidistrict Litigation filed today,
notice is hereby given that a hearing session has been scheduled to consider various matters under
28 U.S.C. § 1407.

DATE OF HEARING SESSION:                  March 28, 2024

LOCATION OF HEARING SESSION:              United States District Court
                                          Hollings Judicial Annex
                                          Courtroom No. 4, 3rd Floor
                                          85 Broad Street
                                          Charleston, South Carolina 29401

TIME OF HEARING SESSION: In those matters designated for oral argument, counsel
presenting oral argument must be present at 8:00 a.m. in order for the Panel to allocate the
amount of time for oral argument. Oral argument will commence at 9:30 a.m.

SCHEDULED MATTERS: Matters scheduled for consideration at this hearing session are listed
on the enclosed Hearing Session Order and Schedule of Matters for Hearing Session.

       •       Section A of this Schedule lists the matters designated for oral argument and
               includes all actions encompassed by Motion(s) for Transfer filed pursuant to
               Rules 6.1 and 6.2. Any party waiving oral argument pursuant to Rule 11.1(d)
               need not attend the Hearing Session.
       •       Section B of this Schedule lists the matters that the Panel has determined to
               consider without oral argument, pursuant to Rule 11.1(c). Parties and
               counsel involved in these matters need not attend the Hearing Session.

ORAL ARGUMENT:
        •      The Panel carefully considers the positions advocated in filings with the Panel when
               it allocates time to attorneys presenting oral argument. The Panel, therefore,
               expects attorneys to adhere to those positions including those concerning an
               appropriate transferee district. Any change in position should be conveyed to Panel
               staff before the beginning of oral argument. Where an attorney thereafter advocates
               a position different from that conveyed to Panel staff, the Panel may reduce the
               allotted argument time and decline to hear further from that attorney.
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         •      The Panel expects attorneys presenting oral argument to be prepared to discuss
                what steps they have taken to pursue alternatives to centralization including, but
                not limited to, engaging in informal coordination of discovery and scheduling, and
                seeking Section 1404 transfer of one or more of the subject cases.
         •      A transcript of the oral argument will be filed in each docket when it becomes
                available. Parties who wish to order a transcript may obtain the court reporter’s
                contact information from the court reporter at the hearing or from the Panel at 202-
                502-2800 following the hearing.
For those matters listed on Section A of the Schedule, the "Notice of Presentation or Waiver of
Oral Argument" must be filed in this office no later than March 4, 2024.
The procedures governing Panel oral argument (Panel Rule 11.1) are attached. The Panel
strictly adheres to these procedures.


                                                       FOR THE PANEL:



                                                       Tiffaney D. Pete
                                                       Clerk of the Panel


cc: Clerk, United States District for the District of South Carolina
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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


                                  HEARING SESSION ORDER


       The Panel issues the following orders in connection with its next hearing session,

        IT IS ORDERED that on March 28, 2024, the Panel will convene a hearing session in
Charleston, South Carolina, to consider the matters on the attached Schedule under 28 U.S.C.
§ 1407.

        IT IS FURTHER ORDERED that the Panel may, on its own initiative, consider transfer of
any or all of the actions in those matters to any district or districts.

        IT IS FURTHER ORDERED that the Panel will hear oral argument on the matters listed
on Section A of the attached Schedule, unless the parties waive oral argument or unless the Panel
later decides to dispense with oral argument pursuant to Panel Rule 11.1(c).

       IT IS FURTHER ORDERED that the Panel will consider without oral argument the
matters listed on Section B of the attached Schedule pursuant to Panel Rule 11.1(c). The Panel
reserves the prerogative, on any basis including submissions of parties pursuant to Panel Rule
11.1(b), to designate any of those matters for oral argument.

        IT IS FURTHER ORDERED that the Clerk of the Judicial Panel on Multidistrict
Litigation shall direct notice of this hearing session to counsel for all parties involved in the
matters on the attached Schedule.


                               PANEL ON MULTIDISTRICT LITIGATION



                                   __________________________________________
                                                Karen K. Caldwell
                                                     Chair

                                  Nathaniel M. Gorton          Matthew F. Kennelly
                                  David C. Norton              Roger T. Benitez
                                  Dale A. Kimball              Madeline Cox Arleo
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                    SCHEDULE OF MATTERS FOR HEARING SESSION
                        March 28, 2024 -- Charleston, South Carolina


                                  SECTION A
                    MATTERS DESIGNATED FOR ORAL ARGUMENT


(This schedule contains only those civil actions listed in the Schedule(s) of Actions submitted
with the docketed motion(s) for transfer. See Panel Rules 6.1 and 6.2. In the event these dockets
are centralized, other actions of which the Panel has been informed may be subject to transfer
pursuant to Panel Rule 7.1.)


MDL No. 3097 − IN RE: CONCRETE AND CEMENT ADDITIVES ANTITRUST
               LITIGATION

   Motion of plaintiff SMBA Construction, LLC, to transfer the following actions to the United
States District Court for the Southern District of New York:

                  Southern District of New York

         SMBA CONSTRUCTION, LLC v. SIKA CORPORATION, ET AL.,
           C.A. No. 1:23−10875

                  Eastern District of Pennsylvania

         M&D PETERSON, LLC v. SIKA AG, ET AL., C.A. No. 2:23−04711
         KEYSTONE CONCRETE BLOCK & SUPPLY CO., INC. v. SIKA AG, ET AL.,
           C.A. No. 2:23−04723
         LAKEWOOD CONCRETE CORP. v. SIKA AG, ET AL., C.A. No. 2:23−04797
         570 CONCRETE, LLC v. SIKA AG, ET AL., C.A. No. 2:23−04845

MDL No. 3098 − IN RE: 23ANDME, INC., CUSTOMER DATA SECURITY BREACH
               LITIGATION

   Motion of defendants 23andMe, Inc.; 23andMe Pharmacy Holdings, Inc.; and 23andMe
Holding Co. to transfer the following actions to the United States District Court for the Northern
District of California:

                  Central District of California

         GILL v. 23ANDME, INC., C.A. No. 8:23−02387

                  Northern District of California

         SANTANA, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05147
         LAMONS v. 23ANDME, INC., C.A. No. 3:23−05178
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         ANDRIZZI v. 23ANDME, INC., C.A. No. 3:23−05198
         EDEN, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05200
         J.S., ET AL. v. 23ANDME, INC., ET AL., C.A. No. 3:23−05234
         MIRZA v. 23ANDME, INC., C.A. No. 3:23−05259
         NAVARRO, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05281
         GREENBERG v. 23ANDME, INC., C.A. No. 3:23−05302
         FRIEND, ET AL. v. 23ANDME HOLDING CO., C.A. No. 3:23−05323
         HOFFMAN, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05332
         FARMER v. 23ANDME, INC., C.A. No. 3:23−05341
         BERMAN, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05345
         TULCHINSKY v. 23ANDME, INC., C.A. No. 3:23−05369
         SEIKEL v. 23ANDME, INC., C.A. No. 3:23−05419
         FRALIX v. 23ANDME, INC., C.A. No. 3:23−05439
         VELEZ v. 23ANDME, INC., C.A. No. 3:23−05464
         ALPERSTEIN, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05541
         SMITH v. 23ANDME, INC., C.A. No. 3:23−05548
         FURIA v. 23ANDME, INC., C.A. No. 3:23−05565
         SCHUTZ, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05579
         VICKERY v. 23ANDME, INC., C.A. No. 3:23−05635
         SORENSEN v. 23ANDME, INC., C.A. No. 3:23−05677
         DOE v. 23ANDME, INC., C.A. No. 3:23−05717
         DUBE v. 23ANDME, INC., C.A. No. 3:23−05768
         MOLINA v. 23ANDME, INC., C.A. No. 3:23−05779
         RYAN v. 23ANDME, INC., C.A. No. 3:23−05968
         SCOTT, ET AL. v. 23ANDME HOLDING CO., ET AL., C.A. No. 3:23−05980
         RIVERS, ET AL. v. 23ANDME, INC., ET AL., C.A. No. 4:23−06481
         IOFFE v. 23ANDME, INC., C.A. No. 5:23−06205

                  Northern District of Illinois

         BACUS v. 23ANDME, INC., C.A. No. 1:23−16828

MDL No. 3099 − IN RE: COMCAST (NETSCALER CVE-4966) CUSTOMER DATA
               SECURITY BREACH LITIGATION
   Motion of plaintiff Kenneth Hasson to transfer the following actions to the United States
District Court for the Eastern District of Pennsylvania:

                  Southern District of Florida

         BROWN v. COMCAST CABLE COMMUNICATIONS LLC, ET AL.,
           C.A. No. 0:23−62392
         CAREY v. CITRIX SYSTEMS, INC., ET AL., C.A. No. 0:24−60008




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                  Eastern District of Pennsylvania

         HASSON v. COMCAST CABLE COMMUNICATIONS, LLC, C.A. No. 2:23−05039
         PRESCOTT v. COMCAST CORPORATION, C.A. No. 2:23−05040
         HENDRICKSON v. COMCAST CORPORATION, C.A. No. 2:23−05072
         WILSON v. COMCAST CABLE COMMUNICATIONS, LLC, C.A. No. 2:23−05091
         NANEZ, ET AL. v. COMCAST CABLE COMMUNICATIONS, LLC,
           C.A. No. 2:23−05092
         KEUNG v. COMCAST CABLE COMMUNICATIONS, LLC, C.A. No. 2:23−05110
         VERDIER v. COMCAST CORPORATION, ET AL., C.A. No. 2:23−05137
         MUNOZ v. COMCAST CABLE COMMUNICATIONS, LLC,
           C.A. No. 2:24−00425

MDL No. 3100 − IN RE: REAL ESTATE COMMISSION ANTITRUST LITIGATION

   Motion of plaintiffs Don Gibson, et al., and Daniel Umpa to transfer the following actions to
the United States District Court for the Western District of Missouri:

                  Northern District of California

         GRACE v. NATIONAL ASSOCIATION OF REALTORS, ET AL.,
           C.A. No. 4:23−06352

                  Northern District of Georgia

         1925 HOOPER LLC, ET AL. v. THE NATIONAL ASSOCIATION OF REALTORS,
           ET AL., C.A. No. 1:23−05392

                  Western District of Missouri

         GIBSON, ET AL. v. NATIONAL ASSOCIATION OF REALTORS, ET AL.,
           C.A. No. 4:23−00788
         UMPA v. NATIONAL ASSOCIATION OF REALTORS, ET AL.,
           C.A. No. 4:23−00945

                  Southern District of New York

         MARCH v. REAL ESTATE BOARD OF NEW YORK, ET AL., C.A. No. 1:23−09995

                  Western District of Pennsylvania

         SPRING WAY CENTER, LLC, ET AL. v. WEST PENN MULTI-LIST, INC., ET AL.,
           C.A. No. 2:23−02061



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                  District of South Carolina

         BURTON v. NATIONAL ASSOCIATION OF REALTORS, ET AL.,
           C.A. No. 7:23−05666

                  Eastern District of Texas

         QJ TEAM, LLC, ET AL. v. TEXAS ASSOCIATION OF REALTORS, INC., ET AL.,
           C.A. No. 4:23−01013
         MARTIN, ET AL. v. TEXAS ASSOCIATION OF REALTORS, INC., ET AL.,
           C.A. No. 4:23−01104

MDL No. 3101 − IN RE: BABY FOOD MARKETING, SALES PRACTICES AND
               PRODUCTS LIABILITY LITIGATION (NO. II)

   Motion of plaintiffs A.A., et al.; D.S.; M.H.; and Jewel Mosley to transfer the following
actions to the United States District Court for the District of Nevada or, in the alternative, the
United States District Court for the Northern District of California, the United States District
Court for the Central District of California, or the United States District Court for the Eastern
District of Louisiana:

                  District of Arizona

         CLARK v. HAIN CELESTIAL GROUP INCORPORATED, ET AL.,
           C.A. No. 2:23−02607

                  Central District of California

         D.S. v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 2:23−10193
         M.H. v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 8:23−02203

                  Northern District of California

         A., ET AL. v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 3:23−06087
         V.Z. v. GERBER PRODUCTS COMPANY, C.A. No. 3:23−06324
         A.T. v. GERBER PRODUCTS COMPANY, ET AL., C.A. No. 3:23−06344

                  Western District of Missouri

         H.N. v. GERBER PRODUCTS COMPANY, ET AL.,
           C.A. No. 4:23−00942




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                  District of Nevada

         P., ET AL. v. BEECH-NUT NUTRITION COMPANY, INC., ET AL.,
             C.A. No. 2:23−00344
         MAGLINTI, ET AL. v. BEECH-NUT NUTRITION COMPANY, INC., ET AL.,
             C.A. No. 2:23−02121

               Western District of Washington

         MOSLEY v. HAIN CELESTIAL GROUP, INC., ET AL., C.A. No. 3:23−06176

MDL No. 3102 − IN RE: THE CHURCH OF JESUS CHRIST OF LATTER-DAY SAINTS
               TITHING LITIGATION

  Motion of plaintiff Joel Long to transfer the following actions to the United States District
Court for the Central District of California:

                  Southern District of Illinois

         LONG v. CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS
           CHRIST OF LATTER-DAY SAINTS, ET AL., C.A. No. 3:23−03950

                  Middle District of Tennessee

         BRAWNER v. CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS
           CHRIST OF LATTER-DAY SAINTS, ET AL., C.A. No. 3:23−01361

                  District of Utah

         CHAPPELL, ET AL. v. CORPORATION OF THE PRESIDENT OF THE CHURCH
           OF JESUS CHRIST OF LATTER-DAY SAINTS., ET AL., C.A. No. 2:23−00794

                  Eastern District of Washington

         RISDON v. CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS
           CHRIST OF LATTER-DAY SAINTS, ET AL., C.A. No. 2:23−00372

MDL No. 3103 − IN RE: AFLIBERCEPT PATENT LITIGATION

Motion of Regeneron Pharmaceuticals, Inc., to transfer the following actions to the United States
District Court for the Northern District of West Virginia:

                  Central District of California

         REGENERON PHARMACEUTICALS, INC. v. AMGEN, INC., C.A. No. 2:24−00264



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                  Northern District of West Virginia

         REGENERON PHARMACEUTICALS, INC. v. MYLAN PHARMACEUTICALS
           INC., C.A. No. 1:22−00061
         REGENERON PHARMACEUTICALS, INC. v. CELLTRION, INC.,
           C.A. No. 1:23−00089
         REGENERON PHARMACEUTICALS, INC. v. SAMSUNG BIOEPIS, CO., LTD.,
           C.A. No. 1:23−00094
         REGENERON PHARMACEUTICALS, INC. v. FORMYCON AG,
           C.A. No. 1:23−00097
         REGENERON PHARMACEUTICALS, INC. v. SAMSUNG BIOEPIS CO., LTD.,
           C.A. No. 1:23−00106

MDL No. 3104 − IN RE: HOTEL INDUSTRY SEX TRAFFICKING LITIGATION (NO. II)

  Motion of plaintiffs J.M., et al., to transfer the following actions to the United States District
Court for the Southern District of Ohio:

                  Central District of California

         DOE v. WYNDHAM HOTELS AND RESORTS, ET AL., C.A. No. 8:23−01554

                  Eastern District of California

         J.M. v. CHOICE HOTELS INTERNATIONAL, INC., ET AL., C.A. No. 2:22−00672

                  Northern District of Georgia

         W.K., ET AL. v. RED ROOF INNS, INC., ET AL., C.A. No. 1:20−05263

                  District of Minnesota

         T.S. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 0:23−02530

                  District of New Mexico

         A.F. v. G6 HOSPITALITY, LLC, C.A. No. 1:23−00879

                  Northern District of Ohio

         J.C. v. G6 HOSPITALITY LLC, C.A. No. 1:23−00867
         S.C. v. WYNDHAM HOTELS AND RESORTS, INC., ET AL., C.A. No. 1:23−00871
         R.C. v. CHOICE HOTELS INTERNATIONAL, INC., ET AL., C.A. No. 5:23−00872




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       Southern District of Ohio

T.P. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:21−04933
A.W. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:21−04934
A.R. v. WYNDHAM HOTELS AND RESORTS, INC., ET AL., C.A. No. 2:21−04935
L.G. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−01924
G.P. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:22−02682
T.E. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:22−03185
B.D.G. v. CHOICE HOTELS INTERNATIONAL, INC., C.A. No. 2:22−03202
A.K.W. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03256
M.H. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03258
H.C. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03416
G.G. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03766
A.Y.S. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03767
A.Y. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03768
K.L. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03769
R.C.C. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03770
N.B. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03771
C.B. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03772
K.R.L. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03773
R.H. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03774
J. B. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03776
H.S. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03778
R.K. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03782
R.Z. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03784
D.K. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03786
K.D. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03787
G.M. v. CHOICE HOTELS INTERNATIONAL, INC., ET AL., C.A. No. 2:22−03788
A.M. v. WYNDHAM HOTELS AND RESORTS, INC., ET AL., C.A. No. 2:22−03797
C.C. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:22−03799
E.C. v. CHOICE HOTELS INTERNATIONAL, INC., ET AL., C.A. No. 2:22−03811
T.D.P. v. CHOICE HOTELS INTERNATIONAL, INC., C.A. No. 2:22−03837
K.F. v. CHOICE HOTELS INTERNATIONAL, INC., ET AL., C.A. No. 2:22−03839
D.T. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03844
K.W. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03845
A.S. v. RED ROOF INNS, INC., ET AL., C.A. No. 2:22−03846
S.R. v. WYNDHAM HOTELS & RESORTS, INC., ET AL., C.A. No. 2:23−01731
DOE v. BEST WESTERN INTERNATIONAL, INC., ET AL., C.A. No. 2:23−03459
DOE (A.M.G.) v. RED ROOF INNS, INC., ET AL., C.A. No. 2:23−04195
DOE (D.E.G.) v. RED ROOF INNS, INC., ET AL., C.A. No. 2:23−04256
DOE (C.M.G.) v. RED ROOF INNS, INC., ET AL., C.A. No. 2:23−04258

       Eastern District of Pennsylvania

A.B. v. WYNDHAM HOTEL & RESORTS, INC., ET AL., C.A. No. 2:23−03902




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                  District of South Carolina

         N.J. v. G6 HOSPITALITY PROPERTY LLC, ET AL., C.A. No. 2:22−03180

                  Eastern District of Texas

         DOE (IES) v. G6 HOSPITALITY LLC, ET AL., C.A. No. 1:23−00464

                  Southern District of Texas

         DOE (A.S.) v. WYNDHAM HOTEL & RESORTS, INC., C.A. No. 4:23−01969

                  Western District of Washington

         DOE v. ESA P PORTFOLIO LLC, C.A. No. 3:23−06038

MDL No. 3105 − IN RE: COLLEGE ATHLETE COMPENSATION ANTITRUST
               LITIGATION

   Motion of plaintiffs DeWayne Carter, et al., to transfer the following actions to the United
States District Court for the Northern District of California:

                  Northern District of California

         CARTER, ET AL. v. NATIONAL COLLEGIATE ATHLETIC ASSOCIATION,
           ET AL., C.A. No. 3:23−06325

                  District of Colorado

         FONTENOT, ET AL. v. NATIONAL COLLEGIATE ATHLETIC ASSOCIATION,
           ET AL., C.A. No. 1:23−03076

MDL No. 3106 − IN RE: RECORE ANTITRUST LITIGATION

   Motion of plaintiffs DPF Alternatives, LLC, Iron Horse Transport, LLC, JGD Filters, LLC,
and RTR DPF, LLC, to transfer the following actions to the United States District Court for the
District of Colorado:

                  District of Colorado

         DPF ALTERNATIVES, LLC v. DET DIESEL EMISSION TECHNOLOGIES, LLC,
           ET AL., C.A. No. 1:23−02860




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      Northern District of Texas

RTR DPF LLC v. DET DIESEL EMISSION TECHNOLOGIES, LLC, ET AL.,
  C.A. No. 4:24−00030

      Southern District of Texas

JGD FILTERS, LLC v. DET DIESEL EMISSION TECHNOLOGIES, LLC, ET AL.,
  C.A. No. 4:24−00061

      Western District of Virginia

IRON HORSE TRANSPORT, LLC v. DET DIESEL EMISSION TECHNOLOGIES,
  LLC, ET AL., C.A. No. 7:23−00791




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                           SECTION B
  MATTERS DESIGNATED FOR CONSIDERATION WITHOUT ORAL ARGUMENT


MDL No. 2295 − IN RE: PORTFOLIO RECOVERY ASSOCIATES, LLC, TELEPHONE
               CONSUMER PROTECTION ACT (TCPA) LITIGATION

  Opposition of defendant Portfolio Recovery Associates, LLC, to remand, under 28 U.S.C.
§1407(a), of the following actions to their respective transferor courts:

                  Southern District of California

         LOWE, ET AL. v. PRA GROUP, INC., C.A. No. 3:12−2127 (E.D. Oklahoma,
           C.A. No. 6:12−00292)
         MATHER v. PORTFOLIO RECOVERY ASSOCIATES, LLC, ET AL.
           C.A. No. 3:16−2924 (S.D. Florida, C.A. No. 0:16−62640)

MDL No. 2591 − IN RE: SYNGENTA AG MIR162 CORN LITIGATION

  Motion of defendants Watts Guerra LLP, Mikal C. Watts, Francisco Guerra, Bassford Remele
PA, and Gustafson Gluek PLLC to transfer the following action to the United States District
Court for the District of Kansas:

                  Northern District of Ohio

         NIEKAMP, ET AL. v. WATTS GUERRA LLP, ET AL., C.A. No. 3:23−02289

MDL No. 2724 − IN RE: GENERIC PHARMACEUTICALS PRICING ANTITRUST
               LITIGATION


   Motion of defendants Actavis Elizabeth, LLC, et al., for stay of the Panel order remanding the
following actions to the United States District Court for the District of Connecticut, pending its
appeal by petition for writ of mandamus:
                  Eastern District of Pennsylvania

         STATE OF CONNECTICUT, ET AL. v. AUROBINDO PHARMA USA, INC.,
           ET AL., C.A. No. 2:17−03768 (D. Connecticut, C.A. No. 3:16−02056)
         STATE OF CONNECTICUT, ET AL. v. TEVA PHARMACEUTICALS USA, INC.,
           ET AL., C.A. No. 2:19−02407 (D. Connecticut, C.A. No. 3:19−00710)
         STATE OF CONNECTICUT, ET AL. v. SANDOZ, INC., ET AL.,
           C.A. No. 2:20−03539 (D. Connecticut, C.A. No. 3:20−00802)




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MDL No. 2843 − IN RE: FACEBOOK, INC., CONSUMER PRIVACY USER PROFILE
               LITIGATION

    Oppositions of plaintiffs Jocelyn Johnson, et al.; Ashley Glenn, et al.; and Everett Arrington et
al., to transfer of their respective following actions to the United States District Court for the
Northern District of California:

                  Middle District of Georgia

         JOHNSON, ET AL. v. META PLATFORMS, INC., C.A. No. 5:23−00502

                  Northern District of Georgia

         GLENN, ET AL. v. META PLATFORMS, INC., C.A. No. 1:23−05756
         ARRINGTON, ET AL. v. META PLATFORMS, INC., C.A. No. 2:23−00269

MDL No. 2924 − IN RE: ZANTAC (RANITIDINE) PRODUCTS LIABILITY
               LITIGATION

   Opposition of plaintiff Jorge Contreras to transfer of the following action to the United States
District Court for the Southern District of Florida:

               Northern District of California

         CONTRERAS v. GLAXOSMITHKLINE LLC, ET AL., C.A. No. 3:24−00019

MDL No. 3004 − IN RE: PARAQUAT PRODUCTS LIABILITY LITIGATION

   Opposition of plaintiffs James R. Fortenberry, Sr., et al., to transfer of the following action to
the United States District Court for the Southern District of Illinois:

                  Western District of Louisiana

         FORTENBERRY, SR., ET AL. v. SYNGENTA CROP PROTECTION LLC, ET AL.,
           C.A. No. 3:24−00024

MDL No. 3044 − IN RE: EXACTECH POLYETHYLENE ORTHOPEDIC PRODUCTS
               LIABILITY LITIGATION

   Opposition of plaintiff Alfredo Porta to transfer of the following action to the United States
District Court for the Eastern District of New York:

                  District of Connecticut

         PORTA v. EXACTECH, INC., ET AL., C.A. No. 3:24−00009




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MDL No. 3047 − IN RE: SOCIAL MEDIA ADOLESCENT ADDICTION/PERSONAL
               INJURY PRODUCTS LIABILITY LITIGATION

  Opposition of plaintiff M.G. to transfer of the following action to the United States District
Court for the Northern District of California:

                  District of Oregon

         M.G. v. META PLATFORMS, INC., ET AL., C.A. No. 3:23−01861

MDL No. 3076 − IN RE: FTX CRYPTOCURRENCY EXCHANGE COLLAPSE
               LITIGATION

   Oppositions of plaintiff Nir Lahav and defendants BAM Trading Services Inc., and BAM
Management US Holdings Inc., to transfer of the Lahav action to the United States District Court
for the Southern District of Florida, and motion of plaintiffs’ co-lead counsel in MDL No. 3076 to
transfer the Onusz action to the United States District Court for the Southern District of Florida:


                  Northern District of California

         LAHAV v. BINANCE HOLDINGS LIMITED, ET AL., C.A. No. 3:23−05038

                  District of Delaware

         ONUSZ, ET AL. v. WEST REALM SHIRES INC., ET AL., Bky. Adv. No. 1:22−50513

MDL No. 3080 − IN RE: INSULIN PRICING LITIGATION

   Opposition of plaintiff Commonwealth of Pennsylvania ex rel. Lawrence S. Krasner to transfer
of the Commonwealth of Pennsylvania action to the United States District Court for the District of
New Jersey and motion of defendants CaremarkPCS Health, L.L.C., and OptumRx, Inc., to
transfer the Hawai'i action the United States District Court for the District of New Jersey:

                  District of Hawaii

         STATE OF HAWAI'I, EX. REL. ANNE E. LOPEZ, ATTORNEY GENERAL v.
           CAREMARKPCS HEALTH, LLC, ET AL., C.A. No. 1:23−00464

                  Eastern District of Pennsylvania

         COMMONWEALTH OF PENNSYLVANIA EX REL LAWRENCE S. KRASNER v.
           ELI LILLY AND COMPANY, ET AL., C.A. No. 2:23−04645




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MDL No. 3083 − IN RE: MOVEIT CUSTOMER DATA SECURITY BREACH
               LITIGATION

  Oppositions of certain plaintiffs and defendants CLEAResult Consulting Inc., and America
Multi-Cinema, Inc., to transfer of their respective following actions to the United States District
Court for the District of Massachusetts:


                  Central District of California

         MORRIS v. DATA MEDIA ASSOCIATES LLC, ET AL., C.A. No. 8:24−00080

                  Southern District of California

         YOURGLICH v. PENSION BENEFIT INFORMATION LLC., ET AL.,
           C.A. No. 3:23−02034
         CARLBLOM v. PENSION BENEFIT INFORMATION LLC, ET AL.,
           C.A. No. 3:23−02167

                  Southern District of Indiana

         GARCIA v. MAXIMUS HEALTH SERVICES, INC., C.A. No. 1:23−02129

                  District of Kansas

         NEWMAN v. AMERICA MULTI−CINEMA, INC., C.A. No. 2:23−02358

                  Southern District of New York

         LARDIS v. COLUMBIA UNIVERSITY, C.A. No. 1:23−10241

                  Western District of Texas

         DAUCH v. CLEARESULT CONSULTING INC., C.A. No. 1:23−01182




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MDL No. 3089 − IN RE: ORAL PHENYLEPHRINE MARKETING AND SALES
               PRACTICES LITIGATION

   Motions of defendants The Procter & Gamble Company; Johnson & Johnson Consumer Inc.;
Haleon US Holdings LLC; and CVS Pharmacy, Inc., to transfer of their respective following
actions to the United States District Court for the Eastern District of New York:

                  Northern District of Illinois

         TUOMINEN v. JOHNSON & JOHNSON CONSUMER, INC., C.A. No. 1:23−13796
         TLAIB v. PROCTER & GAMBLE COMPANY, C.A. No. 1:23−13840
         RICCIO v. PFIZER, INC., C.A. No. 1:23−13843
         KRIST v. CVS PHARMACY, INC., C.A. No. 1:23−13998
MCP No. 175 IN RE: FEDERAL ENERGY REGULATORY COMMISSION, GAS
            TRANSMISSION NORTHWEST LLC, 185 FERC 61,035, ISSUED ON
            OCTOBER 23, 2023, AND 185 FERC 62,169, ORDER ISSUED ON
            DECEMBER 26, 2023
   Motion of Gas Transmission Northwest, LLC, to reconsider the Panel's order consolidating
judicial review of this matter in the United States Court of Appeals for the District of Columbia
Circuit and to strike the Notice of Multicircuit Petitions for Review:

                  District of Columbia Circuit
         COLUMBIA RIVERKEEPER, ET AL. v. FEDERAL ENERGY REGULATORY
           COMMISSION, No. 24−1002
                  Fifth Circuit
         GAS TRANSMISSION NORTHWEST, LLC v. FEDERAL ENERGY REGULATORY
           COMMISSION, No. 24−60002




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RULE 11.1: HEARING SESSIONS AND ORAL ARGUMENT

      (a) Schedule. The Panel shall schedule sessions for oral argument and consideration of
other matters as desirable or necessary. The Chair shall determine the time, place and agenda for
each hearing session. The Clerk of the Panel shall give appropriate notice to counsel for all
parties. The Panel may continue its consideration of any scheduled matters.

       (b) Oral Argument Statement. Any party affected by a motion may file a separate
statement setting forth reasons why oral argument should, or need not, be heard. Such statements
shall be captioned "Reasons Why Oral Argument Should [Need Not] Be Heard" and shall be
limited to 2 pages.

             (i) The parties affected by a motion to transfer may agree to waive oral argument. The
Panel will take this into consideration in determining the need for oral argument.

       (c) Hearing Session. The Panel shall not consider transfer or remand of any action
pending in a federal district court when any party timely opposes such transfer or remand without
first holding a hearing session for the presentation of oral argument. The Panel may dispense with
oral argument if it determines that:

            (i) the dispositive issue(s) have been authoritatively decided; or

             (ii) the facts and legal arguments are adequately presented and oral argument would
not significantly aid the decisional process. Unless otherwise ordered, the Panel shall consider all
other matters, such as a motion for reconsideration, upon the basis of the pleadings.

      (d) Notification of Oral Argument. The Panel shall promptly notify counsel of those
matters in which oral argument is scheduled, as well as those matters that the Panel will consider
on the pleadings. The Clerk of the Panel shall require counsel to file and serve notice of their
intent to either make or waive oral argument. Failure to do so shall be deemed a waiver of oral
argument. If counsel does not attend oral argument, the matter shall not be rescheduled and that
party's position shall be treated as submitted for decision on the basis of the pleadings filed.

         (i) Absent Panel approval and for good cause shown, only those parties to actions who
have filed a motion or written response to a motion or order shall be permitted to present oral
argument.

         (ii) The Panel will not receive oral testimony except upon notice, motion and an order
expressly providing for it.

       (e) Duty to Confer. Counsel in an action set for oral argument shall confer separately
prior to that argument for the purpose of organizing their arguments and selecting representatives
to present all views without duplication. Oral argument is a means for counsel to emphasize the
key points of their arguments, and to update the Panel on any events since the conclusion of
briefing.

       (f) Time Limit for Oral Argument. Barring exceptional circumstances, the Panel shall
allot a maximum of 20 minutes for oral argument in each matter. The time shall be divided among
those with varying viewpoints. Counsel for the moving party or parties shall generally be heard
first.
